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`Ao 455 inev. 51351 waiver of indictment m ' ILED

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- CASE NuMBEFi: G/Q 0’7 ODXYH /&/%L)
4 m J¢"O|€/GW ('25 rB¢‘(/r“"q“~ the above named detendant, Who` ls accused of

Q USC, 157/z

being advised of the nature 5re/oi‘/Lohe charge(s), the proposed intormation, and of my rights, hereby waive .

in open court on

 

prosecution by indictment and consent that the
Date - ` `

proceeding may be by information ratherthan by indictmentl

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Defendent %W__i_

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